          Case 2:20-cv-00966-NR Document 56 Filed 07/13/20 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR                      )      No. 2:20-cv-00966-NR
PRESIDENT, INC., et. al.,                )
           Plaintiffs,                   )      Judge J. Nicholas Ranjan
                                         )
v.                                       )
                                         )
KATHY BOOCKVAR, et. al.                  )
         Defendants.                     )

                               ENTRY OF APPEARANCE

TO THE CLERK OF COURT:

       Kindly enter my appearance on behalf of Defendant the Northampton County Board of
Elections in the above-captioned matter.


Dated: July 13, 2020                            Respectfully submitted:


                                                /s/ Brian J. Taylor____________________
                                                Brian J. Taylor, Assistant Solicitor
                                                Attorney ID: 66601
                                                County of Northampton
                                                669 Washington Street
                                                Easton, Pennsylvania 18042
                                                Phone: (610) 829-6350
                                                Facsimile: (610 559-3001
                                                btaylor@northamptoncounty.org
          Case 2:20-cv-00966-NR Document 56 Filed 07/13/20 Page 2 of 2




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PRESIDENT, INC., et. al.,                     )
           Plaintiffs,                        )      Judge J. Nicholas Ranjan
                                              )
v.                                            )
                                              )
KATHY BOOCKVAR, et. al.                       )
         Defendants.                          )

                                 CERTIFICATE OF SERVICE

       I, Brian J. Taylor, Esquire, hereby certify that, on the date indicated below, a true and

correct copy of the foregoing Entry of Appearance has been served on all counsel of record via

the United States District Court for the Western District of Pennsylvania’s CM/ECF filing

system.



Dated: July 13, 2020


                                                     /s/ Brian J. Taylor____________________
                                                     Brian J. Taylor, Assistant Solicitor
                                                     Attorney ID: 66601
                                                     County of Northampton
                                                     669 Washington Street
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